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                                             EXHIBIT 54




                                                                       Appx. 07044
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                                                                                      Docket #2518 Date Filed: 07/02/2021




PACHULSKI STANG ZIEHL & JONES LLP
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Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
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Counsel for Highland Capital Management, L.P.

                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

    In re:                                                        §
                                                                  § Chapter 11
    HIGHLAND CAPITAL MANAGEMENT, L.P., 1                          §
                                                                  § Case No. 19-34054-sgj11
                                     Debtor.                      §
                                                                  §

                          DECLARATION OF JOHN A. MORRIS
                  IN SUPPORT OF DEBTOR’S MOTION TO SUPPLEMENT
             THE RECORD IN THE CONTEMPT HEARING HELD ON JUNE 8, 2021


             I, John A. Morris, pursuant to 28 U.S.C. § 1746(a), under penalty of perjury, declare as

follows:

1
 The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service address
for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


DOCS_NY:43549.1 36027/002                                                   ¨1¤}HV5'"                  'p«
                                                                                1934054210702000000000007
                                                                                                           Appx. 07045
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         1.       I am an attorney in the law firm of Pachulski, Stang, Ziehl & Jones LLP (the

 “Firm”), counsel to the above-referenced Debtor, and I submit this Declaration in support of the

 Debtor’s Motion to Supplement the Record in the Contempt Hearing Held on June 8, 2021 (the

 “Motion”). Unless stated otherwise, this Declaration is based on my personal knowledge and

 review of the documents listed below.

         2.       On June 8, 2021, this Court held an evidentiary hearing (the “Hearing”) on the

 Debtor’s Motion for an Order Requiring the Violators to Show Cause Why They Should Not Be

 Held in Civil Contempt for Violating Two Court Orders [Docket No. 2247] (the “Contempt

 Motion”).

         3.       During the Hearing, the Court admitted into evidence without objection Debtor’s

 Exhibits 54 and 55 (together, the “Applicable Exhibits”).

         4.       The Applicable Exhibits were time records maintained in the ordinary course of

 business by my Firm in connection with the Contempt Motion for the periods (a) April 18 through

 April 30, 2021 (Exhibit 54), and (b) as labelled, May 1 through June 7, 2021 (Exhibit 55),

 respectively.

         5.       Exhibit 55 contained very few time entries for the month of June for the simple

 reason that they had not yet been uploaded into my Firm’s accounting records.

         6.       Attached as proposed Exhibit 56 is a true and correct copy of my Firm’s time

 records for the period June 1 through June 8, 2021, in connection with the Contempt Hearing,

 exclusive of any time captured in Exhibit 55.

         7.       The Debtor is requesting that the Court permit the Debtor to supplement the record

 in the Hearing on the Contempt Motion to admit Exhibit 56 under the doctrine of completeness.


 Dated: July 2, 2021.                                  /s/ John A. Morris__
                                                       John A. Morris



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                                  EXHIBIT 




                                                                        Appx. 07047
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                                 Pachulski Stang Ziehl & Jones LLP
                                         10100 Santa Monica Blvd.
                                                13th Floor
                                          Los Angeles, CA 90067



                                                                       June 28, 2021
Board of Directors                                                     Invoice 0
Highland Capital Management LP                                         Client    36027
300 Crescent Court ste. 700                                            Matter    00002
Dallas, TX 75201
                                                                                 JNP

RE: Postpetition



          STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 06/28/2021




                                                                                   Appx. 07048
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                                                                               Appx. 07049
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                                                                               Appx. 07050
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                                                                               Appx. 07051
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                                                                               Appx. 07052
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                                                                               Appx. 07053
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Highland Capital Management LP                                                                     Prebill#283721
36027 - 00002                                                                                      June 28, 2021


                                                                                          Hours            Rate       Amount

 GVD          06/05/2021              DAF                 0.40         0.40            950.00                       380.00
  Bill

 06/05/2021    GVD     DAF      Conference with J. Morris and J. Pomerantz re               0.40        950.00        $380.00
                                preparation for June 8 hearing




 GVD          06/05/2021              DAF                 0.90         0.90            950.00                       855.00
  Bill

 06/05/2021    GVD     DAF      Compile and file witness and exhibit list for June 8        0.90        950.00        $855.00
                                hearing




                                                                                                       Appx. 07054
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Highland Capital Management LP                                                                     Prebill#283721
36027 - 00002                                                                                      June 28, 2021


                                                                                          Hours            Rate        Amount
  Bill

 06/06/2021    JAM     DAF      Prepare for trial (4.4); review respondents’                5.50      1245.00         $6,847.50
                                documents (0.4); e-mails w/ respondents’ counsel re:
                                objections to exhibits (0.3); tel c. w/ J. Seery re:
                                DAF hearing and evidence (0.4)




 GVD          06/06/2021              DAF                0.30          0.30            950.00                        285.00
  Bill

 06/06/2021    GVD     DAF      Review demonstratives for June 8 hearing                    0.30        950.00         $285.00
 GVD          06/06/2021              DAF                0.40          0.40            950.00                        380.00
  Bill

 06/06/2021    GVD     DAF      Conference with J. Morris and J. Pomerantz re               0.40        950.00         $380.00
                                preparation for June 8 hearing
 GVD          06/06/2021              DAF                1.60          1.60            950.00                       1,520.00
  Bill

 06/06/2021    GVD     DAF      Review transcripts re evidence for June 8 hearing           1.60        950.00        $1,520.00
 GVD          06/06/2021              DAF                0.60          0.60            950.00                        570.00
  Bill

 06/06/2021    GVD     DAF      Compile witness and exhibit lists for June 8 hearing        0.60        950.00         $570.00




                                                                                                       Appx. 07055
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Highland Capital Management LP                                                                       Prebill#283721
36027 - 00002                                                                                        June 28, 2021


                                                                                            Hours            Rate        Amount



 JNP          06/07/2021              DAF                 0.10         0.10            1,295.00                        129.50
  Bill

 06/07/2021    JNP     DAF      Conference with J. Dubel regarding DAF hearing.               0.10      1295.00          $129.50




 JNP          06/07/2021              DAF                 1.00         1.00            1,295.00                       1,295.00
  Bill

 06/07/2021    JNP     DAF      Working dinner with John A. Morris and Gregory V.             1.00      1295.00         $1,295.00
                                Demo preparing for DAF hearing.
 JAM          06/07/2021              DAF               11.20         11.20            1,245.00                     13,944.00
  Bill

 06/07/2021    JAM     DAF      Prepare for contempt hearing (9.8); communications           11.20      1245.00        $13,944.00
                                with L. Canty, H. Winograd re: exhibits/time records
                                (0.4); working dinner with J. Pomerantz, G. Demo
                                re: prepare for hearing (1.0).
 LSC          06/07/2021              DAF                 4.60         4.60             460.00                        2,116.00
  Bill

 06/07/2021    LSC     DAF      Review, retrieve, and prepare additional exhibits in          4.60        460.00        $2,116.00
                                connection with contempt hearing and
                                correspondence with J. Morris and G. Demo
                                regarding the same.
 GVD          06/07/2021              DAF                 1.00         1.00             950.00                         950.00
  Bill

 06/07/2021    GVD     DAF      Working dinner in preparation for DAF/CLOH                    1.00        950.00         $950.00
                                contempt hearing
 GVD          06/07/2021              DAF                 0.20         0.20             950.00                         190.00
  Bill

 06/07/2021    GVD     DAF      Review discovery re DAF action                                0.20        950.00         $190.00

                                                                                                         Appx. 07056
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Highland Capital Management LP                                                                    Prebill#283721
36027 - 00002                                                                                     June 28, 2021


                                                                                         Hours            Rate       Amount




 GVD          06/07/2021              DAF                0.50         0.50           950.00                        475.00
  Bill

 06/07/2021    GVD     DAF      Review demonstratives and trial exhibits                   0.50        950.00         $475.00




 HRW          06/07/2021              DAF                0.50         0.50           695.00                        347.50
  Bill

 06/07/2021    HRW     DAF      Prepare exhibit for hearing on DAF contempt                0.50        695.00         $347.50
                                motion (0.5)
 JNP          06/08/2021              DAF               10.80        10.80          1,295.00                     13,986.00
  Bill

 06/08/2021    JNP     DAF      Participate in hearing on contempt motion.                10.80      1295.00       $13,986.00
 JNP          06/08/2021              DAF                0.10         0.10          1,295.00                       129.50
  Bill

 06/08/2021    JNP     DAF      Conference with Ira D. Kharasch regarding results          0.10      1295.00          $129.50
                                of hearing.




                                                                                                        Appx. 07057
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                                                                                Appx. 07058
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Highland Capital Management LP                                                          Prebill#283721
36027 - 00002                                                                           June 28, 2021


                                                                                Hours           Rate     Amount
  Bill

 06/09/2021   JNP     DAF       Conference with Robert J. Feinstein regarding    0.30      1295.00       $388.50
                                hearing on contempt and related issues.




                                                                  TOTAL FEES: $128,783.00
                                                                                            Appx. 07059
